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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

  GILBERT P. HYATT,                                               )
            Plaintiff,                                            )
                                                                  )
                     �                                            )         Civil Action No. 1: 18-cv-546
                                                                  )
  UNITED STATES PA TENT AND                                       )
  TRADEMARK OFFICE, and                                           )
  ANDREI IANCU, Under Secretary of                                )
  Commerce for Intellectual Property and                          )
  Director of the United States Patent and                        )
  Trademark Office, in his official capacity,                     )
                Defendants.                                       )
                                          MEMORANDUM OPINION

            Plaintiff Gilbert P. Hyatt is a prolific inventor who has filed hundreds of patent

  applications over the years in fields such as computer technology, machine control, image

  processing, and audio processing. Most of plaintiffs applications are of unprecedented,

  inordinate length, complexity, and interrelatedness. Although plaintiff has achieved some

  significant success-more than 70 of his applications have resulted in the issuance of patents­

  many of his applications have remained pending for years, and indeed, plaintiff contends that the

  defendant, the United States Patent and Trademark Office ("PTO") 1 has deliberately determined

  not to process, examine, or issue patents for any of plaintiffs pending patent applications. Thus,

  plaintiffs Administrative Procedure Act2 challenge to the PTO's handling of plaintiffs patent




  1
    Plaintiff filed suit against both the PTO and Andrei Iancu, the Director of the PTO, in his official capacity.
  Defendants are hereinafter collectively referred to as the "PTO."
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      5 U.S.C. § 706 ("APA").
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  applications in this case focuses on a single question: 3

          Whether the PTO has a current, de facto rule, order, or policy to refrain from issuing
          plaintiff Gilbert P. Hyatt any patents based on his currently existing applications and to
          prevent plaintiff from obtaining judicial review of his currently existing applications
          regardless of the merits of his patent applications.

          In other words, plaintiff contends that the PTO has adopted a sub rosa rule, order, or

  policy to decline to issue patents for or to take any final PTO action on plaintiffs patent

  applications. The PTO argues that no such rule, order, or policy exists and that plaintiff is the

  author of his own misfortune because plaintiffs extraordinarily lengthy, complex applications

  and his prosecution conduct are the cause of the delays and slow pace of the examination

  process.

          Given the nature of the claims and the question presented, plaintiff was permitted to

  conduct limited deposition discovery of PTO personnel. Following this limited discovery, the

  Administrative Record including this limited discovery was assembled. The parties then orally

  argued the merits of plaintiffs challenge. Accordingly, this matter is now ripe for disposition on

  the basis of the Administrative Record.

                                                            I.

           Because plaintiff brings this case under the APA, judicial review is conducted on the

  administrative record. 5 U.S.C. § 706 (requiring courts to review APA claims "on the whole

  record, or those parts of it cited by the parties"). The Administrative Record assembled here




  3 Plaintifrs Complaint initially brought the following claims: Counts I and III sought refunds of fees paid in
  connection with patent applications; Count II asserted a Fifth Amendment claim for the taking of patent applications
  withoutjust compensation; Counts IV-VI, brought under§ 706 and as a request for mandamus, sought relief from
  the PTO's alleged unlawful policy toward plaintiffs patent applications; and Counts VII-IX sought declaratory,
  injunctive, and mandamus relief compelling the allowance ofa particular patent application. By Order dated March
  26, 2019, the PTO's motion to dismiss was granted with respect to all ofplaintifrs claims except insofar as Counts
  IV-VI allege the existence of the de facto rule, order, or policy described above. Hyatt v. U.S.P. T.0., I: l 8-cv-546
  (E.D. Va. March 26, 2019) (Order).

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  focuses on the PTO's recent activity related to certain of plaintiffs patent applications,as that

  recent activity or lack thereof is probative of the truth or falsity of plaintiffs claim that the PTO,

  in violation of its statutory duties,has a current,de facto rule,order, or policy to refrain from

  issuing plaintiff any patents based on his currently existing applications and to prevent plaintiff

  from obtaining judicial review of his currently existing applications regardless of the merits of

  his patent applications.

          Essential to an understanding of the instant dispute is (A) a brief summary of the patent

  prosecution process,(B) a description of the nature of plaintiffs patent applications and their

  unprecedented length and complexity,( C) a summary of pertinent past and ongoing litigation

  between plaintiff and the PTO, and (D) a review of the proceedings to date.

                                                       A .4

          The PTO is responsible for "the granting and issuing of patents," which the PTO does

  after conducting a thorough examination of patent applications in a process known as

  prosecution.35 U.S.C.§§ 2(a)(l),131.Prosecution begins when an applicant submits a

  "specification " that contains a written description of the invention sought to be patented and of

  the manner and process of making and using the invention.35 U.S.C. §§ 111,112.A

  specification must conclude with "one or more claims particularly pointing out and distinctly

  claiming the subject matter which the inventor ... regards as the invention." 35 U.S.C. § 112.

          On receiving a patent application,the PTO is statutorily required to "cause an

  examination to be made of the application and the alleged new invention." 35 U.S.C.§ 131.

  Typically, a patent examiner with relevant scientific or technical competence performs this




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   A similar summary of the patent examination process appears in Hyall v. United States Patent & Trademark
  Office, 146 F. Supp. 3d 771, 774-75 (E.D. Va. 2015), hereinafter referred to as Hyatt I.

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  examination by reviewing each proposed claim in the application for novelty, support in the

  specification's written description, and compliance with other patentability requirements and

  statutes. See 37 C.F.R. § 1.104(a)(l). After the initial examination, the examiner sends the

  applicant an "office action," which may allow or reject the patent claims. See 37 C.F.R.

  §§ 1.104, 1.111(a). If any claims are rejected, the applicant may respond with amendments,

  evidence of patentability, arguments in favor of patentability, or some combination thereof. 37

  C.F.R. § I.Ill(b) (stating that the applicant's reply must "specifically point[] out supposed

  errors in the examiner's action and must reply to every ground of objection and rejection in the

  prior Office action"). If, after the PTO issues an office action in an application, an applicant fails

  to respond within six months after "notice has been given or mailed to the applicant," then the

  application "shall be regarded as abandoned by the parties thereto." 35 U.S.C. § 133. An

  applicant may respond to an abandonment notice by filing a petition (i) to revive an abandoned

  application or (ii) to withdraw an examiner's holding of abandonment. 37 C.F.R. §§ 1.137,

  l.18l(a).

         In the event the examiner concludes that the applicant is entitled to a patent, the examiner

  will issue a notice of allowance giving the applicant three months in which to pay an issue fee

  and a publication fee, payment of which generally results in final issuance of the patent. See 37

  C.F.R. §§ 1.311, 1.314. In the course of prosecution, the examiner may issue a Requirement for

  Information directing the applicant to submit "such information as may be reasonably necessary

  to properly examine or treat the matter." 37 C.F.R. § l.105(a)(l). In sum, patent examination is

  typically a back-and-forth, iterative process resulting ultimately in the patent examiner allowing

  or rejecting one or more of the claims in the patent application.

          When an examiner rejects one or more of the claims in the patent application on two


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  occasions, the applicant may appeal to the Patent Trial and Appeal Board. 5 35 U.S.C. § 134; 37

  C.F.R. § 41.31. To appeal, the applicant must file a notice of appeal and then an appeal brief

  within two months of filing the notice. 37 C.F.R. §§ 41.3l(a)(l), 41.37(a). Upon the appeal

  briefs filing, the patent examiner may, "within such time as may be directed by the Director,"

  file an "examiner's answer" setting forth the grounds on which the application was rejected

  and-potentially-"a new ground of rejection." 37 C.F.R. § 41.39(a). Section 1207.02 of the

  Manual of Patent Examination Procedure ("MPEP") recommends that a patent examiner "should

  furnish" this answer "within 2 months after the receipt of the [appeal] brief by the examiner."

  But significantly, there is no firm statutory or regulatory deadline for the filing of the examiner's

  answer. Once the examiner's answer is filed, the applicant must file a reply brief within two

  months. 37 C.F.R. § 41.41(a). Pursuant to PTO regulations, jurisdiction over the appeal does not

  pass to the Board until the applicant files a reply brief or the time expires for filing a reply brief,

  whichever occurs first. 37 C.F.R. § 41.35(a). Because there is no deadline or requirement for an

  examiner to file an answer, the examiner can halt an appeal simply by not filing an answer. Nor

  is this the sole means of stopping the appeal process. After an applicant has filed an appeal brief

  but before jurisdiction passes to the Board, either the applicant or the examiner may reopen

  examination and prevent the Board from gaining jurisdiction over the application. See 37 C.F.R.

  § 41.35(b); MPEP § 1207.04. In either case, the Board's jurisdiction never vests.

          In the event the examination is not reopened and the Board acquires jurisdiction and

  affirms the examiner's rejection, that decision constitutes a final agency action which the patent

  applicant may then appeal to the Court of Appeals for the Federal Circuit or challenge in a civil



  5 On September 16, 2012, the Patent Trial and Appeal Board replaced the Board of Patent Appeals and
  Interferences. See Leahy-Smith America Invents Act, Pub. L. No. 112-29 §§ 7, 35, 125 Stat. 284, 313, 341
  (September 16, 2011) (codified as amended at 35 U.S.C. § 6). These bodies are referred to as the "Board."
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  action in federal district court. See 35 U.S.C. §§ 14l(a), 145.6 If the Board disagrees with the

  rejection, it may reverse the decision or remand the application to the examiner. 37 C.F.R.

  § 41.50(a). Remand is not considered final agency action for purposes of appeal. 37 C.F.R.

  § 41.50(e).

                                                           B.
          A summary of the general nature of plaintiffs patent applications-and their

  unprecedented length and complexity-is essential to an understanding of the parties' dispute.

  Plaintiffs pending patent applications are some of the longest-pending patent applications at the

  PTO. Almost all of plaintiffs applications were filed prior to June 8, 1995, the effective date of

  certain amendments to the patent laws. In December 1994, as part of the implementation of the

  Uruguay Round of the General Agreement on Tariffs and Trade ("GATT"), Congress amended

  several statutory provisions, including the provisions relating to patent terms.7 Before the GATT,

  a patent's term ran, in general, for seventeen years from the date the patent was issued. But as

  part of the GATT, Congress amended this provision to extend the patent term, in general, to

  twenty years from the date the application is filed. See Gilead Scis., Inc. v. Lee, 778 F.3d 1341,

  1343-44 (Fed. Cir. 2015).8

           As the effective date of these patent law changes-June 8, 1995-drew near, plaintiff



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    In contrast to a direct appeal to the Federal Circuit under § 141,a patent applicant who files a § 145 action in
  district court may present new evidence not previously presented to the PTO. Kappas v. Hyatt, 566 U.S. 431,435
  (2012) (citing Dickinson v. Zurko, 521 U.S. 150,164 (1999)).

  7 See Uruguay Round Agreements Act,Pub. L. No. 103-465,§§ 531-34,108 Stat. 4809,4982-90 (1994).

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    Importantly,"in 1999,Congress enacted provisions under which patent applicants may seek [patent term
  adjustments] for delays caused by the PTO between the filing and issuance dates of the patent application." Gilead
  Scis., Inc., 778 F.3d at 1344 (citing Pub. L. No. 106-113,§ 1000(a)(9),113 Stat. 1501, 1536 (1999)). Specifically,
  "the term of a patent shall be extended 1 day for each day" (A) that the PTO does not meet certain response
  deadlines,(8) that the PTO fails to issue a patent three years after the application's filing date,subject to certain
  limitations, and (C) that an interference, secrecy order, or successful appeal delays issuance of a patent. 35 U.S.C.
  § 154(b)(1)(A)-(C). But significantly,these provisions do not apply to plaintiffs pre-GATT applications.

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  began submitting substantial numbers of patent applications to the PTO. Importantly, patent

  applications filed before the effective date of the GATT changes remain subject to the pre-GATT

  patent term. See Hyatt v. U.S. Patent & Trademark Office, 797 F.3d 1374, 1377 (Fed. Cir. 2015)

  (holding that special circumstances justified disclosure of confidential application information).

  Thus, any patent issued based on plaintiffs applications filed before June 8, 1995 would receive

  a guaranteed term of seventeen years from the date of issuance.

         The filing dates of plaintiffs patent applications are far from their only notable

  characteristics. As the Federal Circuit has observed, plaintiffs nearly 400 applications filed prior

  to June 8, 1995 "feature extremely large claim sets, [with each application] containing, on

  average, 116 independent claims and 299 total claims." Id. By the PTO's 2015 estimate,

  plaintiffs then-pending applications included "45,000 independent claims and 115,000 total

  claims when combined." Id. Notwithstanding the extraordinary number of claims in plaintiffs

  pending patent applications, plaintiffs applications rely on "only 12 distinct specifications." Id.

  And plaintiffs applications "incorporate[ ] by reference, and claim[ ] the benefit of priority from,

  a network of earlier-filed applications dating back to the 1970s." Id.

         The length, complexity, and interrelatedness of plaintiffs patent applications are also

  evident from the record of one of plaintiffs prior challenges to the PTO's handling of his patent

  applications. In 2014, plaintiff sued the PTO, alleging that the PTO was unreasonably delaying

  examination of 80 of his then-pending 400 patent applications. See Hyatt I, 146 F. Supp. 3d 771,

  780 (E.D. Va. 2015). The PTO denied that it was unreasonably delaying examination of

  plaintiffs patent applications and, in support, noted the unprecedented length and complexity of

  plaintiffs applications. Specifically, as the record in Hyatt I reflects, plaintiffs original

  applications at issue there contained 20 to 100 claims per application, but plaintiffs subsequent


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  amendments added hundreds of claims per application, which resulted in "some of the largest

  claim sets the PTO has ever encountered" and "added significant complexity in terms of the

  substantive changes made and the number of claims amended." Id. at 776.As noted in Hyatt I,

  the growth of Application 08/458, 143 from 20 claims to 408 claims, the growth of Application

  08/418,211 from 24 claims to 310 claims, and the growth of Application 07/541,988 from 90

  claims to 297 claims was "generally characteristic of the growth in the number of claims for all

  of the 80 patent applications in issue" in Hyatt I Id.

         Also important is that the extraordinarily lengthy specifications for plaintiffs patent

  applications "run many hundreds of pages." Id. And further adding significantly to the

  complexity of plaintiffs patent applications is the fact, as noted in Hyatt I, that plaintiffs patent

  applications typically "claim[ ] the benefit of priority to . ..numerous earlier-filed applications

  often dating back to the early 1970s." Id. at 776.As the PTO observed with respect to one

  application at issue in Hyatt I, there were "38 different possible dates to which [plaintiff] may be

  entitled to maintain priority ...for a given claim." Id. at 777.

         The Hyatt I record also reflects that far from refusing to process plaintiffs complex

  applications, in October 2012 the PTO formed Art Unit 2615, a special group of twelve

  examiners dedicated to the task of reviewing and processing plaintiffs patent applications.See

  id. at 778. Additionally, in August 2013, the PTO began to issue a series of Requirements for

  Information (hereinafter, the "Requirements") applicable to plaintiffs patent applications in

  order to aid and facilitate examination of plaintiffs extraordinarily lengthy patent applications.

  Id The Requirements identified several factors that, in the PTO's view, made examination of

  plaintiffs applications "unmanageable," namely

         (i) the number of pending applications in the same "family" (i.e. group of related claims)
         of applications,

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         (ii) the length of the specifications and number of applications incorporated by reference,

         (iii) the degree of overlap in priority with other applications and with patents already
         issued to the same specification,

         (iv) the number of claims,

         (v) the multiplication of claims over the course of prosecution,

         (vi) the similarity of claims, and

         (vii) the lack of clear demarcation between the claims in applications sharing a common
         specification.

  Hyatt I, at 778 & n. 15. To address these obstacles to effective and expeditious examination of

  plaintiffs patent applications, the Requirements instructed plaintiff (i) to select a number of

  claims from each family, not to exceed 600 claims absent a showing that more claims are

  necessary, (ii) to identify the earliest possible priority date and supporting disclosure for each

  selected claim, and (iii) to present a copy of the selected claims to the PTO. Id. Even so, as

  described in greater detail infra, the extraordinary length and complexity of plaintiffs patent

  applications continue to hinder the examination process of plaintiffs patent applications.

                                                   C.
         The instant dispute is not the plaintiffs first suit against the PTO; to the contrary, he has

  filed a number of cases against the PTO, a few of which are relevant to understanding the instant

  dispute.

         In Hyatt I, plaintiff unsuccessfully sought a declaration that the PTO had unreasonably

  delayed final agency action on 80 patent applications and injunctive relief compelling PTO

  action. Id. at 780. In the end, summary judgment in Hyatt I was granted in the PTO's favor

  because the record there reflected that examination of plaintiffs patent applications at issue was

  underway, albeit at a slower pace than plaintiff desired. See id. at 783; see also Norton v. S. Utah

  Wilderness All., 542 U.S. 55, 63 (2004) ("[T]he only agency action that can be compelled under

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  the APA is action legally required.") (emphasis in original). Thus, plaintiff in Hyatt I was not

  entitled to relief under 5 U.S.C. § 706(1) based on any past delay because the PTO's active

  examination of plaintiffs patent applications left "nothing to be judicially compelled." Hyatl I at

  783. Plaintiff did not appeal the judgment in Hyatt I.

          Other challenges by plaintiff to the PTO's examination procedures have resulted in

  Federal Circuit decisions of note here. Months prior to the decision in Hyatt I, the Federal Circuit

  in 2015 held that the PTO Director did not abuse her discretion when she found that special

  circumstances-plaintiffs extraordinarily complex and long applications-justified the PTO's

  disclosure of confidential information. Hyatt v. U.S. Patent & Trademark Office, 797 F.3d at

  1384. Accordingly, the Federal Circuit rejected plaintiffs challenge to the Requirements as a

  violation of 35 U.S.C. § 122. Id. Specifically, the Federal Circuit reasoned that "[g]iven the

  extraordinary number and duplicative nature of Mr. Hyatt's various pending applications, all

  drawn from the same 12 specifications, it was reasonable for the PTO to be concerned that the

  claims did not 'differ substantially from each other,' and that some claims were 'unduly

  multiplied."' Id. at 1384 (quoting 37 C.F.R. § 1.75(b)).

          After Hyatt I, plaintiff brought suit seeking the repeal of MPEP § 1207.04, which

  provides that an examiner may, "with approval from the supervisory patent examiner, reopen

  prosecution to enter a new ground of rejection in response to appellant's brief." Hyatt v. United

   States Patent & Trademark Office, 904 F.3d 1361, 1367 (Fed. Cir. 2018) (quoting MPEP

   § 1207.04). This challenge was rejected by the Federal Circuit. Id. at 1374-75 (holding that

   Board review is not required where a procedural prerequisite, such as "an examiner's decision

   not to reopen prosecution," is not satisfied). The Federal Circuit also significantly noted that

   there was no evidence in the record of that case "that, in the wake of [ Hyatt I] PTO examiners


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  have repeatedly reopened prosecution of Mr. Hyatt's applications for the purpose of further

  delaying PTAB review." Id. at 1375.

           Plaintiff has also filed various actions under§ 145,9 and the decisions in these actions are

  informative. In 2007, the Federal Circuit in Hyatt v. Dudas, 492 F.3d 1365 (Fed. Cir. 2007),

  reversed a district court's decision in a§ 145 action and held that where an examiner's rejection

  makes clear what "was missing by way of written description," the burden properly shifts to an

  applicant "to cite to the examiner where adequate written description could be found, or to make

  an amendment to address the deficiency." Id. at 1371. In 2008, the Federal Circuit in Hyatt v.

  Dudas, 551 F.3d 1307 (Fed. Cir. 2008), affirmed a district court's§ 145 decision and made clear

  that the Board may only consider a single claim to be representative of a group of claims rejected

  for lack of written description where those "claims share a common limitation that lacks written

  description support." Id. at 1313. And in 2012 the Supreme Court held in Kappos v. Hyatt, 566

  U.S. 431 (2012), (i) that patent applicants may introduce new evidence subject only to the

  Federal Rules of Evidence and the Federal Rules of Civil Procedure in§ 145 proceedings and

   (ii) that the district court must make de novo findings where a patent applicant presents new

  evidence on a disputed fact question in a§ 145 action. Id. at 444.

           An ongoing appeal involving several of plaintiffs§ 145 actions is also noteworthy

  because it may further elucidate the legal principles governing prosecution laches and the written

  description requirement-grounds for rejection frequently asserted in office actions addressing

  plaintiff's patent applications. See Hyatt v. lancu, No. 18-2390 (Fed. Cir.). Between 2005 and




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    Section 145 "grants a patent applicant whose claims are denied by the [PTO] the opportunity to challenge the
  PTO's decision by filing a civil action against the Director of the PTO in federal district court." Hyatt, 566 U.S. at
  433.

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  2009, plaintiff filed four § 145 actions in the District Court for the District of Columbia.10 In the

  course of those proceedings, the PTO argued that plaintiffs prosecution conduct across hundreds

  of applications and over decades warranted forfeiture of plaintiffs claims based on prosecution

  laches, an equitable doctrine that provides the PTO with the authority to reject applications for

  patents that would be unenforceable because those patents were "obtained after an unreasonable

  and unexplained delay in prosecution." In re Bogese, 303 F.3d 1362, 1367 (Fed. Cir. 2002)

  (citing Symbol Technologies, Inc. v. Lemelson Medical, 277 F.3d 1361, 1368 (Fed. Cir. 2002)

   (same, in the context of a patent infringement suit)). After four separate bench trials in these

   § 145 actions-one on prosecution laches and three on plaintiffs patent applications11-the D.C.

  district court rejected the PTO's prosecution laches defense in the four applications, ordered that

   patents issue for some of plaintiffs claims, and affirmed rejections of other claims. Hyatt v.

   Jancu, 332 F. Supp. 3d 113, 138-39 (D.D.C. 2018) (holding that plaintiffs conduct from 1995 to

   2003 did not constitute prosecution laches); Hyatt v. Jancu, 332 F. Supp. 3d 83, 112-113 (D.D.C.

   2018) (concluding that certain claims were patentable). Foilowing the PTO's appeal and

   plaintiffs cross-appeal to the Federal Circuit in Hyatt v. Jancu, the case was submitted after oral

   argument. See Hyatt v. Jancu, No. 18-2390 (Fed. Cir. Feb. 6, 2020). 12



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     At the time plaintiff filed these§ 145 actions,§ 145 provided for venue solely in the United States District Court
   for the District of Columbia. Pursuant to a 2011 amendment,§ 145 now provides for venue solely in the United
   States District Court for the Eastern District of Virginia. Pub.L. 112-29, § 9 (Sept.16, 2011).
   11
      A separate bench trial was not held in plaintiffs fourth § 145 action because the bench trial on the PTO's
   prosecution laches defense resolved the only genuine dispute of material fact remaining after disposition of the
   parties' summary judgment motions.See Hyatt v. lancu, 332 F.Supp. 3d 83, 90 n.6 (D.D.C.2018).
   12
     As the parties noted at oral argument in this case, the Federal Circuit's forthcoming decision in Hyatt v. Iancu
   may have some bearing on the issues presented here, but it is unlikely to be dispositive of those issues. May 15,
   2020 Oral Arg. Tr.35:6-9. Thus, it is not necessary to await the Federal Circuit's decision in Hyatt v. Iancu to
   resolve plaintiffs sole remaining claim in this suit.

  It is also worth noting that plaintiff filed a separate suit in the Eastern District of Virginia challenging the PTO's
  dismissal of petitions to withdraw holdings of abandonment in several of plaintiffs patent applications.See Hyatt v.

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                                                            D.
          As noted, plaintiff argues in the instant action that the PTO has a current, de facto rule,

  order, or policy to refrain from issuing plaintiff any patents based on his currently existing

  applications and to prevent plaintiff from obtaining judicial review of his currently existing

  applications regardless of the merits of his patent applications. In contrast with the claim in Hyatt

  /, where plaintiff alleged unreasonable PTO delay, plaintiff argues here that the PTO has

  unlawfully withheld action on plaintiffs patent applications. 13

          Given plaintiffs claim, it became necessary to consider whether limited, focused

  discovery was appropriate in this case. Although discovery beyond the administrative record is

  rare in APA cases, some courts have sensibly noted that "there may be circumstances to justify

  expanding the record or permitting discovery." Fort Sumter Tours, Inc. v. Babbitt, 66 F.3d 1324,

  1336 (4th Cir. 1995) (quoting Public Power Councilv. Johnson, 674 F.2d 791, 793 (9th Cir.

  1982)). Because this is such a case, plaintiff was permitted to conduct limited discovery in the

   form of an evidentiary hearing in open court by selecting two PTO employees to be deposed and

  requiring the PTO to designate a third witness to be deposed pursuant to Rule 30(b)(6), Fed. R.

   Civ. P. Hyattv. U.S.P.T.O., l:18-cv-546 (E.D. Va. May 13, 2019) (Order). The witnesses

   selected were (i) Gregory Morse, the Supervisory Patent Examiner of Art Unit 2615, the unit

   chiefly responsible for examining plaintiffs applications, (ii) Tariq Hafiz, the group director of

   Technology Center 3600, and (iii) Pinchus Laufer, a senior patent attorney in the Office of Patent

   Legal Administration who provided legal advice in connection with the examination of


  United States Patent & Trademark Office, I :20-cv-487 (E.D. Va.). Plaintiff filed this separate suit after his Motion
  to Amend the complaint in the instant action was denied. Hyatt v. U.S.P. T.O., I: l 8-cv-546 (E.D. Va. January 15,
  2020) (Order). Nothing in this Memorandum Opinion is intended to be taken, nor should it be taken, as expressing
  any view as to the merits of plaintifrs claims in his separate suit against the PTO.

    See Hyatt v. U.S.P. T. 0., I: l 8-cv-546, slip op. at 2 (E.D. Va. March 26, 2019) (Order) ("Previously, plaintiff
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  challenged the PTO's delay; now, he challenges the PTO's alleged refusal to issue him patents.").

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  plaintiffs patent applications.

          Of particular importance here is the testimony of Gregory Morse, who has led Art Unit

  2615 since March 2013. On several occasions during the evidentiary hearing, Morse firmly

  denied the existence of a current, de facto rule, order, or policy to refrain from issuing plaintiff

  any patents based on his currently existing applications or to prevent plaintiff from obtaining

  judicial review of his currently existing applications regardless of his applications' merits:

          The Court: As the head of the Unit, is there any order, rule, or requirement by the PTO
          not to issue Mr. Hyatt any patent on any of his applications?
          The Witness: No, Your Honor.
          The Court: Have you issued such an order?
          The Witness: No, Your Honor.
          The Court: Has anyone in the PTO issued such an order?
          The Witness: I'm not aware of any such order, no; and I've-I'm in the position that I
          would have been told if that were the order.
          The Court: Would such an order be legal?
          The Witness: I don't think so.

   A12-Al3 (Evid. Hr'g Tr. 12:19-13:6).1 4 According to Morse, review of plaintiffs patent

  applications is made more difficult by plaintiffs amendments increasing the number of claims

  included in a single application, the specifications' length, plaintiffs failure to provide written

  description support in the specification for claims, and plaintiffs amendments that rewrite claims

  in response to office actions. A5l-54 (Evid. Hr'g Tr. 51:22-52: 16; 52:20-54:4).

           At the time of the evidentiary hearing, the Board had not taken jurisdiction of an appeal

   in plaintiffs applications since Morse began supervising Art Unit 2615. A61-62 (Evid. Hr'g Tr.

   61:23-62:3). During Morse's tenure, three of plaintiffs patent applications in which plaintiff had

  prevailed in part before the Board in 2007-Applications 08/471,799, 08/470,897, and



    See also A28-29 (Evid. Hr'g Tr. 28:22-29: 12) (same, with respect to Application 08/471'799); A30-31 (same,
   14

  with respect to three specified applications); A40 (Evid. Hr'g Tr. 40: 14-17) (same); A56 (Evid. Hr'g Tr. 56: I 9-25)
  (same); A61 (Evid. Hr'g Tr. 61 :8-20) (same). All citations beginning with an "A" refer to a page or pages in the
  Administrative Record in this case.

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  08/470,075-had yet to receive any further office actions as of the date of the evidentiary

  hearing.A30 (Evid. Hr'g Tr.30:6-17); see also A24-30 (discussing App. '799's transaction

  history).On several occasions, Morse gave guidance to Art Unit 2615 examiners about rejecting

   plaintiffs claims, but Morse did not recall providing written guidance to examiners about

  allowing plaintiffs claims.See A87-88 (Evid.Hr'g Tr. 87:20-88:10); see also A83-98; A236-

  55 (compiling Morse's written guidance to Art Unit 2615 examiners).Morse was also aware that

  one Art Unit 2615 examiner, Walter Briney, created an image labeled "THE SUBMARINE

  PROSECUTION CHOKEHOLD" that superimposes plaintiffs face and a dollar sign onto the

  body of professional wrestler choking an opponent whose shoulder bears the PTO's seal.A99-

  100 (Evid.Hr'g Tr.99:24-100:4); A230-235 (emails from Briney containing the image).In the

  context of patent applications, the term "submarine patent " refers to "a secret patent application

  pending for an extended period of time ...[before] it issue[s] into a mature industry." A102

   (Evid.Hr'g Tr.102:19-21).It appears that PTO personnel generally consider a submarine patent

   "to be a bad thing." Al02 (Evid. Hr'g Tr.102:24).

              Following limited discovery in the form of an evidentiary hearing, the Court in this case

  twice ordered the PTO to provide lists of actions taken on plaintiffs patent applications during

  specific time periods.15 These lists show that between June 3, 2019 and January 17, 2020, the

   PTO issued 82 final rejections, 17 examiner's answers, 7 nonfinal rejections, and 132 petition

   decisions.In connection with these lists of actions, the PTO also described the overall status of

  plaintiffs application portfolio.The PTO concluded as of January 17, 2020 that plaintiff had

   abandoned 188 of the 408 patent applications pending before the PTO in 2013.16 Of the 188



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        These lists of PTO actions on plaintiffs applications have been filed under seal as docket entries 94 and 145.

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        Abandonment of a patent application is discussed supra in Part I.A at page 4.

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  applications the PTO considers abandoned, plaintiff has filed post-abandonment petitions in

  approximately half of those applications. 17 Four of plaintiffs patent applications are involved in

  plaintiffs ongoing appeal to the Federal Circuit. The PTO contended that 216 applications

  remained pending before the PTO: 117 awaiting action by the PTO and 99 awaiting action by

  plaintiff. 18 Of those 216 patent applications, 46 were involved in the administrative appeal

  process to the Board. Of those 46 applications, 28 awaited examiner's answers to plaintiffs

  appeal briefs, 11 awaited plaintiffs reply briefs in response to examiner's answers, 4 had been

  fully briefed and awaited scheduling of Board hearings, 2 had completed briefing and had

  hearings set for February 10, 2020, and 1 had been fully briefed and argued orally on January 9,

  2020 and was thus ripe for disposition by the Board. See PTO's February 14, 2020 Response.

          On March 18, 2020, an Order issued stating that the Administrative Record for judicial

  review in this case properly includes the following material:

          (i) the transcript of the June 20, 2019 evidentiary hearing in this matter;

          (ii) the exhibits introduced at the June 20, 2019 evidentiary hearing;

          (iii) the papers connected to the PTO's office actions from December 1, 2019 to January
          15, 2020 designated by the PTO; and

          (iv) papers related to Applications 08/471,799, 08/470,897, and 08/470,075, to include
          (a) PALM records for all three applications that provide the same information for
          Applications 08/470,897 and 08/470,075 that Plaintiffs Exhibit 6, which was introduced
          at the June 20, 2019 evidentiary hearing, provided for Application Number 08/471,799;
          (b) the Board decisions regarding each of the three applications; and (c) any documents
          from the file histories of the three applications that the PTO designates as necessary for


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     The parties are not in agreement as to the number of petitions in opposition to abandonment that plaintiff has
  filed; the PTO contends that plaintiff has petitioned for withdrawal of abandonment in 94 of those applications,
  whereas plaintiff contends that he has petitioned for withdrawal of abandonment in I 02 of those applications. See
  Plaintiffs February 21, 2020 Combined Response at 7 n. I 0.

    Plaintiff contends that the proper number of patent applications pending before the agency is 223, not 216. See
   18

  Plaintiffs February 21, 2020 Combined Response at 7. This dispute appears to stem from the parties' disagreement
  as to the number of applications the PTO has regarded as abandoned and whether the applications at issue in the
  § 145 actions currently on appeal to the Federal Circuit are properly characterized as pending before the PTO.

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           providing context for the PTO's actions on these applications.

   Hyatt v. U.S.P.T.O., l:18-cv-546 (E.D. Va. March 18, 2020) (Order). The Administrative Record

   thus included materials that would be probative of the truth or falsity of the sole allegation that

   remains at issue here, namely that the PTO has a current, de facto rule, order, or policy to refrain

   from issuing plaintiff any patents based on his currently existing applications and to prevent

   plaintiff from obtaining judicial review of his patent applications. See id. at 7-8. 19 The 9,342-

   page Administrative Record was submitted by the PTO on April 24, 2020. The March 18, 2020

   Order also scheduled a hearing on the merits for Friday, May 15, 2020. See Hyatt v. U.S.P. T. 0.,

   1: l8-cv-546 (E.D. Va. March 18, 2020) (Order) ("It is further ORDERED that a hearing on the

   merits in this matter is SCHEDULED for Friday, May 15, 2020 at 10:00 a.m.").

           At oral argument, counsel for plaintiff argued that additional extra-record discovery is

   warranted in this case because plaintiff contends a strong showing has been made of bad faith or

   improper behavior by the PTO. Specifically, plaintiff seeks (i) Morse's written communications

   with each director and PTO management regarding plaintiff and the examination of plaintiffs

   patent applications, (ii) Morse's communications with Art Unit 2615 examiners on the allowance

   of claims, and (iii) Morse's communications with Art Unit 2615 examiners on any instructions or

   encouragements to reject claims. In plaintiffs view, the extra-record discovery already afforded

   to plaintiff-namely the evidentiary hearing where plaintiffs counsel deposed Morse and two

   other PTO employees-is insufficient because plaintiff was not able to question Morse based on

   any written discovery and Morse's testimony was not worthy of credence. Plaintiff further




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     Plaintiffs argument that the Administrative Record should include the complete file histories ofplaintifrs
   applications was rejected, as were plaintiffs arguments that declarations from former PTO employees and
   deposition testimony taken in the course ofplaintiffs§ 145 actions should be included in the Administrative
   Record. See Hyatt v. U.S.P. T.O., 1 :18-cv-546, slip op. at 8-10 (E.D. Va. March 18, 2020) (Order).

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  argued that after extra-record discovery is conducted,summary judgment briefing and,if

  necessary,a bench trial should follow. See New York v. Department of Commerce, 345 F. Supp.

  3d 444,449 (S.D.N.Y. 2018) (collecting cases where bench trials were held on APA claims).20

             During the merits hearing,the PTO argued that the evidence in the Administrative

  Record demonstrates that there is no current,de facto rule,order,or policy to refrain from

  issuing plaintiff any patents based on his currently existing applications or to prevent plaintiff

  from obtaining judicial review of his currently existing applications regardless of the merits of

  his patent applications. According to the PTO,Morse's testimony at the evidentiary hearing

  makes clear that far from carrying out any such rule,order,or policy,Art Unit 2615 is working

  diligently to process plaintiffs unusual and inordinately complex applications. The PTO further

  argued that the Administrative Record shows that the PTO has taken significant steps to move

  plaintiffs patent applications through the examination and appeal process. The PTO also

  represented that this progress is ongoing. Specifically,the PTO represented that as of May 11,

  2020 50 of plaintiffs applications were in the Board appeal process. May 15 Hr'g Tr. 15:2-4. Of

  those 50 applications,19 await examiner's answers,21 await reply briefs by plaintiff,and 10

  have been fully briefed. Id. at 15 :4-6. Of the 10 fully briefed applications,hearings had been

  held on 3 applications,hearings had been waived or postponed in 4 applications,and hearings

  had yet to be scheduled for 3 applications. Id. at 15 :6-10.

                                                               II.

             The customary summary judgment standard under Rule 56(c), Fed. R. Civ. P.,does not

  apply in the case of judicial review on the basis of an administrative record. This is so because

  the administrative record sets forth the facts. The presence or absence of a genuine dispute of



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       Plaintifrs request for additional discovery is further addressed infra at Part V.

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  material fact is thus not at issue. Instead, summary judgment in an APA challenge based on the

  administrative record "serves as the mechanism for deciding, as a matter of law, whether the

  agency action is ...consistent with the APA" and the applicable substantive law. Hyatt I, at 78 0

  (quoting Sierra Club v. Mainella, 45 9F. Supp. 2d 76, 90( D.D.C. 2006)); cf Power Integrations,

  Inc. v. Lee, 797F.3d 13 18, 13 26 (Fed. Cir. 2015) (conducting APA review of patentability

  determinations based on the grounds in the administrative record).These familiar principles of

  APA review apply where, as here, an administrative record consisting of material before the

  agency is supplemented through authorized discovery. 21

          Although the parties were not invited to file and brief cross-motions for judgment on the

  administrative record, judgment on the administrative record may be granted without a party's

  formal motion.See Fed. R. Civ.P. 5 6(f)( 3) (providing that "[a]fter giving notice and a

  reasonable time to respond, the court may ...consider summary judgment on its own after

  identifying for the parties material facts that may not be genuinely in dispute").Here, the March

   18, 2020Order required the production of the Administrative Record setting forth the facts

  material to plaintiffs claim and provided the parties with notice and an opportunity to argue

  orally the merits of plaintiffs claim. Indeed, "a hearing on the merits in this matter [was

  scheduled] for Friday, May 15, 2020at 10:00a.m." Hyatt v. U.S.P.T.O., l:18-cv- 546 (E.D.Va.

  March 18, 2020) (Order).That hearing was held as scheduled.Accordingly, this matter is now

  ripe for disposition on the basis of the Administrative Record and the parties' arguments.




  21
    See Boston Redev. Auth. v. Nat 'I Park Serv., 838 F.3d 42, 47-48 (1st Cir. 2016) (applying the APA standard, not
  the ordinary summary judgment standard, where parties conducted additional discovery to supplement the
  administrative record); Dist. Hosp. Partners, L.P. v. Burwell, 786 F.3d 46, 54-56 (D.C. Cir. 2015) (applying APA
  standard of review where motion to supplement rulemaking record was granted in part).

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                                                    III.

            Analysis properly begins with the principles that govern plaintiffs challenge to the

  PTO's administrative action under§ 706(2), § 706(1), and the All Writs Act, 28 U.S.C.

  § 1651(a).22 The APA authorizes suit by "[a] person suffering legal wrong because of agency

  action, or adversely affected or aggrieved by agency action within the meaning of a relevant

  statute." 5 U.S.C.§ 702.Under§ 704, "[a]gency action made reviewable by statute and final

  agency action for which there is no other adequate remedy in a court are subject to judicial

  review." 5 U.S.C.§ 704. Agency action is defined as "the whole or part of an agency rule, order,

  license, sanction, relief, or the equivalent denial thereof, or failure to act." 5 U.S.C.§ 551(13).

  Final agency action may be challenged pursuant to§ 706(2)(A), which provides that a reviewing

  court "shall ...hold unlawful and set aside agency action " that is "arbitrary, capricious, an abuse

  of discretion, or otherwise not in accordance with law." 5 U.S.C.§ 706(2)(A).For agency action

  to be considered final, two conditions must be met: (i) "the action must mark the consummation

  of the agency's decisionmaking process " and (ii) "the action must be one by which rights or

  obligations have been determined, or from which legal consequences will flow." Bennett v.

  Spear, 520 U.S.154, 177-78 (1997).

             Here, plaintiff claims that the PTO has taken final agency action subject to review under

  § 706(2)(A) because the PTO has implemented a sub rosa rule, order, or policy to prevent

  plaintiff from obtaining any patents or judicial review of his patent applications. Importantly,

  plaintiff does not contend that this rule, order, or policy is openly acknowledged; rather, plaintiff

   argues that the PTO's inaction and pretextual rejections by the PTO are evidence of such a rule,

  order, or policy.


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       See Complaint, Counts IV-VI.

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          An agency's failure to act may be challenged pursuant to§ 706(1), which provides that a

  reviewing court "shall ...compel agency action unlawfully withheld or unreasonably delayed."

  5 U.S.C.§ 706(1).As the Supreme Court has made clear, "a claim under§ 706(1) can proceed

  only where a plaintiff asserts that an agency failed to take a discrete agency action that it is

  required to take." Norton v. S. Utah Wilderness All., 542 U.S.55, 64 (2004) (emphasis in

  original). Because§ 706(1) limits relief to legally required action, a reviewing court may only

  "compel an agency 'to perform a ministerial or non-discretionary act,' or 'to take action upon a

  matter, without directing how it shall act."' Id. at 64 (quoting Attorney General's Manual on the

  Administrative Procedure Act 108 (1947)).In this respect,§ 706(1)' s limitation on relief is

  identical to the limitation on relief available through the common law writ of mandamus.See S.

   Utah Wilderness All., 542 U.S.at 63 (noting that "[t]he mandamus remedy was normally limited

  to enforcement of' a specific, unequivocal command "') (quoting ICC v. New York, N. H. & H. R.

  Co., 287 U.S.178, 204 (1932)). If a plaintiff successfully demonstrates that agency action has

  been unlawfully withheld, a reviewing court "must award injunctive relief to secure an agency's

  compliance." South Carolina v. United States, 907 F.3d 742, 758 (4th Cir. 2018) (enjoining the

  Department of Energy to remove one metric ton of defense plutonium from South Carolina by a

  date certain following Department's failure to meet statutory deadline).23 Here, plaintiff argues

  that the PTO is unlawfully withholding legally required action on plaintiffs patent applications

  and that plaintiff is entitled to injunctive relief compelling PTO action.

           Because plaintiff seeks mandamus, it is important to note that mandamus is a "drastic "




  23 The Ninth and Tenth Circuits have reached the same conclusion. See Vietnam Veterans ofAmerica v. Central
  Intelligence Agency, 811 F.3d 1068, 1079 (9th Cir. 2016) (enjoining defendant to warn persons exposed to chemical
  or biological substances for testing purposes of risks of exposure); Forest Guardians v. Babbitt, 174 F.3d 1178,
  1I 87 (I 0th Cir. 1999) (enjoining defendant to designate a critical habitat after failure to meet statutory deadline).

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  remedy that is warranted "only in extraordinary situations." Kerr v. U.S. Dist. Court, 426 U.S.

  394, 402 (1976); 28 U.S.C.§ 165l(a) (codifying the common law writ of mandamus). A party

  seeking mandamus must satisfy three conditions: First, the party must show that he lacks "other

  adequate means to attain the relief he desires." Id. at 403. Second, as with§ 706( 1 ), the party

  must show that he has a "clear and indisputable" right to relief. Id. (quoting Banker's Life & Cas.

  Co. v. Holland, 346 U.S. 379, 384 (1953)). Third, if the first two conditions are met, the "issuing

  court, in the exercise of its discretion, must be satisfied that the writ is appropriate under the

  circumstances." Cheney v. U.S. Dist. Court, 542 U.S. 367, 381 (2004). Plaintiff contends here

  that the PTO's failure to take legally required action on his applications warrants mandamus.

          The same assertion underpins plaintiffs§ 706(2)(A) claim,§ 706(1) claim, and request

  for mandamus, namely that the PTO is violating its legal obligations by implementing a de facto

  rule, order, or policy to refrain from issuing plaintiff any patents based on his currently existing

  applications and to prevent plaintiff from obtaining judicial review of his currently existing

  applications regardless of the merits of his patent applications. Accordingly, to determine

  whether plaintiff is entitled to relief based on any of his claims, it is necessary to identify clearly

  what the law requires of the PTO with respect to a patent application.

          The actions legally required of the PTO upon submission of a patent application are set

  forth in 35 U.S.C.§ 131. Specifically, "[t]he Director [of the PTO] shall cause an examination to

   be made of the application and the alleged new invention; and if on such examination it appears

   that the applicant is entitled to a patent under the law, the Director shall issue a patent therefor."

   35 U.S.C.§ 131. Put another way,§ 131 requires the PTO to take two actions: (i) to examine a

  patent application and (ii) to issue a patent if the applicant is legally entitled to one. Accordingly,

  there is no doubt that§ 131 would be violated by a PTO rule, order, or policy to deny issuance of


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  a patent without regard to the merits of plaintiffs patent applications or an outright refusal to

  examine plaintiffs patent applications for compliance with patentability criteria.

             Importantly, an evaluation of whether the PTO has satisfied its statutory duty to "cause

  an examination to be made of' plaintiffs patent applications does not extend to a consideration

  of whether the PTO correctly decided to reject a given claim on one or more grounds. 35 U.S.C.

  § 131. In this regard, it is important to recall that a challenge to agency action unlawfully

  withheld only permits a reviewing court to compel an agency "to take action upon a matter,

  without directing how it shall act." S. Utah Wilderness All., 542 U.S. at 64 (emphasis in original)

  (quoting Attorney General's Manual on the Administrative Procedure Act 108 (1947)). In other

  words, § 706(1) "does not provide a court with a license to substitute its uudgment] for that of an

  agency merely because the agency is charged with having unreasonably withheld" making that

  judgment. Am. Ass 'n ofRetired Pers. v. EEOC, 823 F.2d 600, 605 (D.C. Cir. 1987).

  Accordingly, the inquiry here focuses on whether the PTO has "cause[d] an examination to be

  made of' plaintiffs patent applications by taking actions that measure plaintiffs patent

  applications against applicable patentability criteria-statutory and nonstatutory 24-not whether

  the PTO reached legally correct results in its examinations and analyses of plaintiffs

  applications. § 131. To proceed otherwise and interrogate the correctness of the PTO's actions

  under the guise of conducting APA review would amount to an end-run around the procedure for

  obtaining judicial review of patentability determinations. See §§ 141; 145 (providing for judicial

  review of the Board's patentability determinations in the Federal Circuit or a district court).

                                                              IV.
             The Administrative Record here does not support plaintiffs contention that the PTO is


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       For example, prosecution laches is an equitable doctrine, not a statutory ground of rejection.

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  unlawfully withholding agency action that would result in the issuance of patents to plaintiff or

  withholding agency action that would permit plaintiff to obtain judicial review of his patent

  applications. More specifically, the Administrative Record reflects that there is no rule, order, or

  policy, de facto or otherwise, to refrain from issuing a patent to plaintiff or to prevent plaintiff

  from obtaining judicial review of his patent applications. Rather, as the Administrative Record

  reflects, the PTO is taking steps necessary to permit plaintiff to obtain Board review of twice­

  rejected applications by filing examiner's answers and to move the examination process forward

  on plaintiffs other pending applications by filing office actions. Far from disregarding the merits

  of plaintiffs patent applications, the PTO's actions reflect that the PTO is engaging with the

  merits of plaintiffs patent claims and addressing plaintiffs arguments in favor of the multitude

  of claims plaintiff asserts in the applications.

          To begin with, the Administrative Record provides two clear examples of examiner's

  answers filed in response to plaintiffs appeal briefs to the Patent Trial and Appeal Board. The

  examiner's answers and corresponding appeal briefs in the Administrative Record illustrate the

  length and complexity of plaintiffs applications and show that an examiner's task in addressing

  one of plaintiffs appeal briefs is no small undertaking. For example, the December 19, 2019

  examiner's answer in Application 08/454,878 ("App. '878") demonstrates the complexity of

  plaintiffs applications.




                                                                   The PTO's 116-page examiner's

  answer in Application '878 responds to plaintiffs 110-page appeal brief and 114 pages of

  Appendices filed on November 8, 2018. See Examiner's Answer, App. '878 at A2868-2983;


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  Appeal Brief, App. '878 at A2984-3093. Similarly, the January 2, 2020 examiner's answer

  addresses Application 08/285,669

                                                                                     . The PTO's

  123-page examiner's answer in Application '669 responds to plaintiffs 131-page appeal brief

  and 782 pages of Appendices filed on March 22, 2019. See Examiner's Answer, App. '669 at

  A5869-5991; Appeal Brief, App. '669 at A5992-6122. Thus, the PTO's extensive examiner's

  answers in response to plaintiffs appeal briefs clearly reflect that the PTO is dedicating time and

  resources to process plaintiffs patent applications.

          As noted in Part I.A supra, the filing of an examiner's answer determines whether and

  when the Board's appellate jurisdiction vests. Thus, although the Board is not precluded from

  remanding an application to an examiner, see 37 C.F.R. § 41.S0(a), the PTO's filing of an

  examiner's answer enables the Board to render a decision favorable to plaintiff or a decision that

  is subject to judicial review pursuant to §§ 141 or 145. The Administrative Record also reflects

  that because the PTO has filed examiner's answers, several of plaintiffs appeals are now ripe for

  Board disposition. Specifically, the Administrative Record discloses that oral argument was held

  on one of plaintiffs appeals to the Board and oral argument was scheduled in two other appeals.

  Board Oral Arg. Tr., App. 08/469,939 at A7302-35; Oral Arg. Notice, App. 08/418,213 at

  A7761-66; Oral Arg. Notice, App. 08/465,173 at A8383-88. And, as counsel for the PTO

  represented at oral argument in this case, 10 of plaintiffs applications were fully briefed as of

   May 11, 2020. Accordingly, the Administrative Record clearly reflects that the PTO is taking

  actions necessary for plaintiff to obtain Board decisions on his pending patent applications.

          The Administrative Record also makes clear that the PTO is filing numerous office

  actions on plaintiffs applications. Indeed, from June 3, 2019 to January 17, 2020, the PTO filed


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  82 final rejections and 7 nonfinal rejections on plaintiffs applications. The following examples

  included in the Administrative Record reflect that the PTO is dedicating substantial time and

  resources to preparing office actions in order to advance the examination process relating to

  plaintiffs applications:

      •   In A lication 07/774,159, which is based on an 841- a e s ecification-
                                                                                , the PTO filed a
          288-page final rejection on December 6, 2019 that responds to plaintiffs October 1, 2019
          reply comprised of 53 pages of remarks and 133 pages of claims and amendments. Final
          Rejection, App. '159 at A2257-2544; Reply, App. '159 at A2545-2732.

      •   In A lication 08/465,198, which is based on a 576- a e specification -
                                                                   , the PTO filed a 206-page final
          rejection on December 19, 2019 that responds to plaintiffs November 26, 2018 reply
          comprised of 13 pages of remarks seeking withdrawal of the Requirements' 600 claim
          per family limit and 198 pages of claims and amendments. Final Rejection, App. '198 at
          A3637-3842; Reply, App. '198 at 3843-4053.


                                                                                        , the PTO
          filed a 269-page final rejection on December 30, 2019 in response to plaintiffs January
          7, 2019 Reply comprised of 359 pages of claims and 57 pages of remarks. Final
          Rejection, App. '580 at A5 l 79-5447; Reply, App. '580 at A5448-5868.



                      , the PTO filed a 175-page nonfinal rejection on January 9, 2020 responding
          to 41 pages of remarks sent on August 17, 2016 and 313 pages of claims and
          amendments filed on May 2, 2019. Nonfinal Rejection, App. '590 at A6773-947; Claims
          and Remarks at A6948-7301.

  This representative sampling of office actions in the Administrative Record shows that the back­

   and-forth process of patent examination is ongoing in plaintiffs patent applications and that each

   party is producing lengthy filings as part of that process. Because twice-rejected claims may be

  appealed to the Board, the PTO's office actions in the Administrative Record demonstrate

  progress toward plaintiff obtaining Board review in those applications. See 35 U.S.C. § 134.

  Accordingly, the PTO's filing of office actions further supports the conclusion that plaintiff is


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  not entitled to mandatory or injunctive relief here.

             In opposing this conclusion, plaintiff invites the Court to engage in an impermissible

  analysis of the merits of these office actions.Specifically, plaintiff argues that although the PTO

  is issuing office actions addressing plaintiffs patent applications, the PTO's sluggish production

  of rejections fails to fulfill the PTO's statutory duties because these rejections are pretextual and

  indicative of a rule, order, or policy to prevent plaintiff from obtaining patents regardless of the

  merits.

             This argument is unpersuasive; in making this argument, plaintiff impermissibly invites

  the Court to assess the merits of the PTO's office actions generated during the back-and-forth

  examination process.These office actions are not final agency actions subject to judicial review

  and thus an inquiry into the merits of these office actions is beyond the scope of APA review on

  the Administrative Record.See S. Utah Wilderness All., 542 U.S.at 64 ("[Section] 706( I)

  empowers a court only to compel an agency ... 'to take action upon a matter, without directing

  how it shall act."') (emphasis in original) (quoting Attorney General's Manual on the

  Administrative Procedure Act 108 (1947)).And contrary to plaintiffs argument, the

  Administrative Record is replete with evidence of the PTO advancing detailed arguments

  regarding the patentability of plaintiffs claims.Specifically, the PTO's office actions addressing

  issues such as prosecution laches, undue multiplicity, written description deficiencies, and

  obviousness make clear that the PTO is fulfilling its statutory duty to examine plaintiffs patent

  applications.

             Significantly, in every office action in the Administrative Record, the PTO argues that

  plaintiffs claims are forfeited under the doctrine of prosecution laches25 based on plaintiffs



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       Recall that prosecution )aches permits the PTO to reject a patent application where a patent issued based on that
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  "widespread, longstanding pattern of behavior across nearly 400 interrelated patent

  applications." See, e.g., Examiner's Answer, App. '878 at A2886. In addition to citing plaintiffs

  conduct across his entire application portfolio, the PTO's prosecution laches rejections also

  identify specific evidence of delay in the application under examination. For example, the PTO' s

  116-page Examiner's Answer in Application '878 asserts

          (i) that plaintiff "filed this application in June of 1995, some 25 years after the date on
          which some of the current claims are said to have been described in a parent application,"

          (ii) that in 2017, plaintiff "made amendments that completely rewrote 200+ claims,
          introducing for the first time claims drawn to [new subject matter]," and

          (iii) that Application '878 claims priority to several earlier-filed applications, creating "a
          22-year delay from the 1973 priority date of [a parent] application to the filing date of
          this application in 1995 and a 25-year delay from the earliest claimed priority date."

  Examiner's Answer, App. '878 at A2896-98; see also Examiner's Answer, App. '669 at A5891-

  92 (identifying subject matter-altering amendments and a series of continuation applications). 26

  Thus, the Administrative Record reflects that the PTO provides specific arguments for applying

  the doctrine of prosecution laches in particular applications filed by plaintiff. 27 In this respect, the

  Administrative Record further reflects that the PTO is performing its statutory examination

  duties with respect to plaintiffs patent applications.

           Also illustrative of the PTO's performance of its statutory examination duty is that the

  PTO has argued in many, if not all, of plaintiffs applications that plaintiffs claims are unduly



  application would be unenforceable because of"an unreasonable and unexplained delay in prosecution." In re
  Bogese, 303 F.3d at 1367 (citation omitted).
  26
     Indeed, plaintiff's own filings indicate that the examiner's answers in the Administrative Record are not unique in
  citing characteristics specific to the individual application addressed. See Extension Request, App. 08/419,682 at
  A2802 ("Quite a few of the positions expressed in the examiner's answer, even as to laches and undue multiplicity
  (which are being made globally), raise issues specific to this application or its claims, so only some arguments are
  common or overlapping with previously drafted reply briefs.").
  27
    See, e.g., Final Rejection, App. 08/435,906 at A1607-21; Final Rejection, App. 07/774,159 at A2528-32; Final
  Rejection, App. 08/457,208 at A7994-8005.

                                                           28
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  multiplied such that when the claims are read "in light of the specification and prosecution

  history, they fail to inform those of ordinary skill in the art, with reasonable certainty, about the

  scope of the invention." See Final Rejection, App. 08/471,695 at A906-07.28 The PTO's undue

  multiplicity rejections do not merely rely on the sheer number of claims in plaintiffs application

  portfolio; rather, the PTO identifies characteristics of individual applications that, in the PTO's

  view, warrant an undue multiplicity rejection. For example, the Administrative Record shows

  that with respect to Application '695,

                                                           the PTO specifically analyzed that application's

  unduly multiplied claims. Final Rejection, App. '695 at A889-98. In response to 238 pages of

  claims and 63 pages of remarks filed by plaintiff, the PTO's 214-page final rejection in

  Application '695 provides several tables to support the assertions

           (i) that "in this application, there is a pattern of repetition of claim elements (the same
           type of pattern identified in the Requirements) throughout the independent claims,"

           (ii) that "this pattern of repetition of claim elements can be seen among the
           approx[imately] 100 applications in this family," and
           (iii) that "numerous claims in this application comprise subject matter that falls under the
           scope of the description of other copending applications in the subject matter table."

  Final Rejection, App. '695 at A957-60. Accordingly, the PTO's rejections for undue multiplicity

  provide detailed explanations regarding the PTO's position and hence reflect that the PTO is

  performing its statutory examination duty. 29



  28 In this respect, the office action recites the Supreme Court's standard for definiteness under 35 U.S.C. § 112, 12.
  See Nautilus, Inc. v. Biosig Industries, Inc., 572 U.S. 898, 901 (2014). Undue multiplicity rejections made under
  § 112 ,I 2 are warranted where "the net result of [unreasonable number ofrepetitious and multiplied claims] is to
  confuse rather than to clarify" the invention's nature and scope. MPEP § 2173.0S(n).

  29
    PTO office actions in connection with other applications also cite difficulties created by plaintiffs applications
  that contain unduly multiplied claims. See, e.g., Final Rejection, App. 08/435,894 at A490-96; Final Rejection, App.
  08/469,565 at A1942-50; Final Rejection, App. '159 at A2383-92; Examiner's Answer, App. '669 at A5930-45;
  Final Rejection, App. 08/457,208 at A7860-65.

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          The PTO's written description rejections also engage with the merits of plaintiffs patent

  applications. In Application 08/461,572,

                                              the PTO filed a 227-page final rejection responding to 200

  pages of claims and amendments and 49 pages of remarks. Final Rejection, App. '572 at A3257.

  The final rejection included written description rejections based on the examiner's review of the

  disclosure, "which encompasses 841 pages of specification and 96 pages of drawings," for

  "support that would demonstrate that [plaintiff] possessed the various claimed embodiments."

  Final Rejection, App. '572 at A3257-58. Although the examiner identified some of the claimed

  elements in the specification, the examiner determined that the specification did not show that

  plaintiff "possessed the particular claimed combination of individual elements" and failed to

  describe "the individual claim elements" for certain claims. Final Rejection, App. '572 at A3258

  (citing 37 C.F.R. § 1.7l(b)).




                              The PTO's other office actions making written description rejections

  engage in similar analyses of plaintiffs applications' specifications.30 These actions in the

   Administrative Record clearly reflect that the PTO is not refusing to perform its statutory duty to

  examine plaintiffs patent applications.

          Similarly, the PTO's obviousness rejections under 35 U.S.C. § I 03 also reflect that the



    See, e.g., Final Rejection, App. '894 at A384-429; Examiner's Answer, App. '878 at A2959-64; Final Rejection,
   30

  08/469,001 at A467 l-82; Final Rejection, App. '208 at A7782-7798; Final Rejection, App. 08/469,077 at A8397-
  406.

                                                        30
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  PTO is evaluating plaintiffs claims on their merits in fulfillment of its duty under § 131. In

  Application 08/469,001,

                                      the PTO filed a 247-page final rejection after plaintiff submitted

  256 pages of claims and 28 pages of remarks. The final rejection identifies specific prior art

  references, asserts that the elements of plaintiffs claimed invention are disclosed in those prior

  art references, and argues that those prior art references provided a reason for combining those

  elements in the manner proposed by plaintiffs claims. See Final Rejection, App. '001 at A4782-

  96. The PTO's office actions addressing plaintiffs other applications provide similar analyses of

  prior art references that the PTO argues render plaintiffs claims unpatentable as obvious. 31

           By completing examiner's answers and other office actions that analyze plaintiffs patent

  applications, the PTO is clearly fulfilling its duty under § 131 to "cause an examination to be

  made of' plaintiffs patent applications. Accordingly, there is no legally required action for a

  reviewing court to compel with respect to plaintiffs patent applications. The PTO's actions

  reflected in the Administrative Record thus do not support plaintiffs contention that the PTO has

  adopted a rule, order, or policy, de facto or otherwise, to reject plaintiffs applications without

  regard for their merit. It bears repeating that the above discussion and conclusion that the PTO is

  examining plaintiffs patent applications is not a pronouncement that the PTO's actions are

  unassailably correct determinations of the patentability of plaintiffs claims. But because the

   Administrative Record reflects that the PTO is performing its nondiscretionary duty to examine

  plaintiffs patent applications, plaintiff cannot demonstrate a basis for obtaining relief under the

  APA or in the form of mandamus.




   31
     See, e.g., Final Rejection, App. '894 at A591-606; Final Rejection, App. '565 at A2406-71; Final Rejection, App.
   '198 at A3727-31; Final Rejection, App. '208 at A7874-907; Final Rejection, App. '077 at A8485-91.
                                                          31
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          Seeking to avoid this result, plaintiff next argues that the PTO's actions support the

  existence of an illegal rule, order, or policy because the PTO has failed to act within the time

  constraints the PTO represented it would endeavor to meet in its summary judgment briefing in

  Hyatt I. See id. at 779-80 (identifying the PTO's representations about its plans to address

  plaintiffs applications at issue).This argument is unpersuasive.The PTO's activity at the time of

  the decision in Hyatt I formed the basis for granting summary judgment in the PTO's favor, not

  the PTO's representations regarding future actions on plaintiffs applications.Hyatt I at 783

  ("Thus, the PTO has already done what it is statutorily required to do, namely to cause an

  examination to be made of the applications."). Importantly, for the pre-GATT applications in

  issue, the PTO is under no obligation to complete an examination in any particular span of time.

  Hyatt I at 783. Here, the PTO is currently acting on plaintiffs patent applications in accordance

  with the requirements of § 13 1, and plaintiffs dissatisfaction with the PTO's pace of producing

  examiner's answers and other office actions does not alter this result.

          It is fair to note that the Administrative Record reflects that both parties bear some

  responsibility for the slow progress in examining plaintiffs patent applications.As described

  above, plaintiffs lengthy, complex, and interrelated patent applications and prosecution conduct

  create significant obstacles to speedy and efficient examination.But the slow pace of

   examination also appears to be attributable to the PTO's use of compact prosecution, an

   examination procedure in which the PTO attempts to raise all possible problems with a patent

  application in its office actions.See App. '669 at A5876 ("The examiner has attempted to

  comply with the principles of compact prosecution as well as the circumstances permit by

  presenting all appropriate, non-cumulative grounds of rejection ...."). In Hyatt v. /ancu, the

   D.C.district court suggested that a departure from the compact prosecution procedure for


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  plaintiffs patent applications may have been warranted because the extraordinary situation

  presented by plaintiffs applications "required [the PTO] to employ and embrace atypical

  procedures for addressing the challenge before them." 332 F. Supp. 3d at 133.

          Notwithstanding the debatable32 possibility that a departure from the PTO's standard

  practice of compact prosecution might expedite the examination process, it is important to note

  that the PTO is under no legal obligation to engage in or to refrain from applying the compact

  prosecution procedure. Thus, an order compelling the PTO to cause an examination to be made

  of a patent application could not permissibly specify the examination procedure that the PTO

  must apply to that patent application. See S. Utah Wilderness All., 542 U.S. at 64 (noting that

  under§ 706(1), a court may compel an agency "to take action upon a matter, without directing

  how it shall act") (internal quotation marks and citation omitted).

          Finally, plaintiff has argued that the PTO's filing of examiner's answers and other office

  actions during the pendency of this action points toward, not away, from the conclusion that

  judicial intervention is warranted because, in plaintiffs view, the PTO will only endeavor to

  work quickly if a reviewing court is evaluating the PTO's actions. See Plaintiffs Response to the

   PTO's July 26, 2019 Status Update at 5. But the PTO's actions on plaintiffs patent applications

  are the reason this suit must end, not a reason to permit this suit to continue. To hold otherwise

   would ignore the constraints on judicial review and relief available under§ 706(2)(A), under

  § 706(1), and through the writ of mandamus.

          In summary, the Administrative Record assembled here makes unmistakably clear that

  the PTO has not adopted, instituted, or promulgated any illegal rule, order, or policy with respect



  32 The PTO, for its part, would likely contend that refraining from using compact prosecution would result in
  inefficient, piecemeal examination. See Examiner's Answer, App. '669 at A5876 (urging the Board to address all
  grounds in light of "the appeal history of this extended family of applications").

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  to plaintiffs patent applications. Rather, it appears from the Administrative Record that the PTO

  is fulfilling its statutory duty to "cause an examination to be made of' plaintiffs patent

  applications and that the length, complexity, and interrelatedness of plaintiffs patent

  applications has plainly adversely affected the pace of that examination. 35 U .S.C. § 131.

  Because the Administrative Record leaves no doubt that the PTO is examining plaintiffs patent

  applications, there is no need for further discovery in this matter. Accordingly, relief under the

  APA or in the form of mandamus is unwarranted, and judgment must be entered in favor of the

  PTO and against plaintiff.

                                                           V.
          At oral argument, plaintiff argued that additional discovery is warranted in light of the

  completed Administrative Record. In support, plaintiff cites Department of Commerce v. New

   York, 139 S. Ct. 2551 (2019), in which the Supreme Court noted that the proper time to

  determine whether extra-record discovery is warranted is after assembly of the complete

  administrative record. Id. at 2574. In plaintiffs view, additional discovery beyond the

  Administrative Record assembled here should be permitted because plaintiff has made a "strong

  showing of bad faith or improper behavior" by the PTO,33 namely that the PTO's stated reasons

   for rejecting or delaying action on plaintiffs applications are pretextual. No such showing is

   reflected in this Administrative Record.

          In APA cases, discovery beyond the administrative record "is the exception, not the rule."

   Theodore Roosevelt Conservation P'ship v. Salazar, 616 F.3d 497,514 (D.C. Cir. 2010) (noting




    See Citizens of Overton Park, Inc. v. Volpe, 401 U.S. 402,420 (1971); Air Transp. Ass 'n ofAm., Inc. v. Nat 'I
   33

  Mediation Bd, 663 F.3d 476, 487-88 (D.C. Cir. 2011) ("[l]f a party makes a significant showing-variously
  described as a strong, substantial, or prima facie showing-that it will find material in the agency's possession
  indicative of bad faith or an incomplete record, [the party] should be granted limited discovery.").

                                                           34
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  that a strong showing of bad faith or a deficient record may justify extra-record discovery)

  (citing Esch v. Yeutter, 876 F.2d 976, 991(D.C. Cir. 1989)). Significantly, plaintiff has already

  been afforded an opportunity to conduct limited discovery in the form of an evidentiary hearing

  where plaintiff examined Gregory Morse, Art Unit 2615's supervisory patent examiner, and two

  other PTO officials. Yet plaintiff argues that this evidentiary hearing was insufficient and that

  further discovery regarding Morse's communications to PTO leadership and examiners would

  demonstrate that the PTO has prejudged plaintiffs applications. As with discovery beyond the

  administrative record in general, supplementation of the administrative record with deliberative

  documents is rare but may be permitted based on a showing of "bad faith or improper behavior."

  New Mexico v. EPA, 114 F.3d 290, 295(D.C. Cir. 1997). But notably, there is a high bar that

  must be overcome to obtain discovery regarding an agency's deliberative process, and for good

  reason that high bar is difficult to clear. As the Supreme Court has noted,

          [t]he deliberative process privilege rests on the obvious realization that officials will not
          communicate candidly among themselves if each remark is a potential item of discovery
          and front page news, and its object is to enhance "the quality of agency decisions" ... by
          protecting open and frank discussion among those who make them within government.

  Dep 't ofInterior v. Klamath Water Users Protective Ass 'n, 532 U.S. 1, 8-9(2001)(quoting

  NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 151(1975)) (internal citation omitted).

          Yet, plaintiff contends that he has made a strong showing of prejudgment necessary to

  justify additional discovery and to pierce the deliberative process privilege. But to show

  impermissible prejudgment, a plaintiff must establish "that the decision maker is 'not capable of

  judging a particular controversy fairly on the basis of its own circumstances."' NEC Corp. v.

   United States, 151 F.3d 1361, 1373 (Fed. Cir. l 998)(quoting Hortonville Joint Sch. Dist. No. 1

   v. Hortonville Educ. Ass 'n, 426 U.S. 482, 493(1976)). In this regard, plaintiff emphasizes

  several aspects of the Administrative Record that, in plaintiffs view, establish that the PTO has

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  prejudged plaintiffs patent applications. But a review of the Administrative Record as a whole

  and the specific items emphasized by plaintiff discloses no persuasive basis for concluding that

  plaintiff has made the requisite strong showing of prejudgment by the PTO and thus no

  persuasive reason to conclude that additional discovery is warranted.

           Specifically, plaintiff argues that conduct and comments of Walter Briney, an Art Unit

  2615 examiner, show that the examination of plaintiffs patent applications is pretextual. In this

  respect, plaintiff contends that Briney's creation of an image labeled "THE SUBMARINE

  PROSECUTION CHOKEHOLD" is probative of the PTO's prejudgment of plaintiffs

  applications. Plaintiff also urges an inference of bad faith based on the similarity of the language

  appearing in the image to statements in the PTO's office actions. 34 In plaintiffs view, Morse's

  decision not to view the image after he learned of its existence35 and Briney's continued service

  as a patent examiner show that the PTO condoned improper behavior toward plaintiff. A99-l 00

  (Evid. Hr'g Tr. 99:7-100:5). Plaintiff also argues that Briney has made other inappropriate

  comments about plaintiff. 36 These actions do not warrant the inference that plaintiff urges,

  namely that the PTO is not evaluating plaintiffs patent applications on their merits. As noted,

  plaintiffs applications pose an unprecedented challenge to patent examiners, and it is



   34
     See Al 00 (Evid. Hr' g Tr. 100:21-25) (stating that "choke hold of prosecution" appears in office actions as part of
  prosecution !aches rejections); A l 04 (Evid. Hr'g Tr. 104:8-12) (discussing the PTO's use of the term "submarine"
  in plaintiffs patent applications); see also Final Rejection, App. '695 at A1046 (citing Steve Blount, The Use of
  Delaying Tactics to Obtain Submarine Patents and Amend Around a Patent that a Competitor Has Designed
  Around, 81 J. Pat. & Trademark Off. Soc'y 11, 24-27 (1999)).
   35
     At the evidentiary hearing, Morse stated that the image was "described to [Morse] in reasonable terms." A99
   (Evid. Hr'g Tr. 99:23).
   36
     On March 10, 2016, Briney authored an email to co-workers stating that an article about plaintiffs divorce
   "provides a unique glimpse into Hyatt's mind and the value he places on his patent applications." See Complaint at
   Exhibit 1, Hyatt v. United States Patent & Trademark Office, 346 F. Supp. 3d 141 (D.D.C.2018) (18-cv-234). In
   Freedom of Information Act litigation seeking disclosure of a reply to Briney's email, the D.C. district court stated
   that Briney's email "can be read in such a way as to call into question" the "necessary objectivity" that patent
   examiners must display in performing their duties. Hyatt, 346 F. Supp.3d at 152.

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  understandable that patent examiners would feel and express some frustration. Accordingly,

  nothing raised by plaintiff warrants additional discovery because the Administrative Record

  contains adequate evidence bearing on whether the PTO is performing its statutory duty to

  examine plaintiffs patent applications.37

          Next, plaintiff argues that Morse's guidance to Art Unit 2615 examiners shows that the

  PTO has prejudged all of plaintiffs applications. To be sure, the Administrative Record contains

  several emails from Morse to examiners providing guidance about writing rejections and no

  emails about allowance. See A236-255 (compiling Morse's guidance emails). But the

  explanation for this dichotomy is simple; examiners apply the MPEP, which "identifies a set of

  grounds of rejection and allowance is the absence of other issues with the case." A87-88 (Evid.

  Hr'g Tr. 87:20-88:10); see also A97-98 (Evid. Hr'g Tr. 97:15-98:1). In other words, allowance

  is "a residual outcome." A88 (Evid. Hr'g Tr. 88:9-10). Thus, the absence of emails about

  allowance does not provide persuasive evidence of prejudgment.

          Plaintiff insists that Morse's emails go beyond merely discussing rejections and explicitly

  instruct examiners to reject claims. Specifically, plaintiff relies on the following message:

          I've seen a couple actions lately where you (in the abstract) pick a reasonable date as the
          "not before this date", and then the art rejection look[s] like you're trying to beat a 1970
          date. Have the courage to beat the date you identify. If you do the best you can with the
          support he shows, you write a rejection on the date you identify, and then he comes back
          and shows you an earlier date and a different spec, we'll write a new rejection and go
          final. He was already required to show earlier support ....

   A246. Morse addressed this email in his testimony at the evidentiary hearing, stating that the




   37
    See Theodore Roosevelt Conservation P 'ship, 616 F.3d at 514 (affirming denial of discovery where administrative
  record was not deficient); Air Transp. Ass'n ofAm., Inc. v. Nat'/ Mediation Bd., 663 F.3d 476, 487-88 (D.C. Cir.
  201 l ) (affirming denial of extra-record discovery regarding prejudgment where evidence of"intra-agency discord"
  prior to new rule's promulgation did not show prejudgment and legitimate reasons explained delay in union election
  that resulted in new rule's application).

                                                         37
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  email's purpose was not to tell examiners "to write a rejection no matter what," but rather to

  communicate that examiners "have to pick a date for the claim and search for art for that date

  and find it or not, but they can't try and anticipate every possible response." A87 (Evid. Hr' g Tr.

  87: I 5-17). Morse testified that he wrote "we'll write a new rejection and go final" because he

  "was supposing that the examiner went back and found different art." A87 (Evid. Hr'g Tr.

  87:11-12).

          Plaintiff contends that Morse's testimony about this email and others was not worthy of

  credence and that additional discovery regarding Morse's emails to examiners would reveal

  evidence of prejudgment. This argument fails to persuade; a supervisory patent examiner's

  expression of skepticism about plaintiffs ability to prevail in certain patent applications where

  examiners had already recommended rejections does not render the supervisory examiner or the

  other examiners incapable of judging those applications fairly based on new evidence or legal

  authority. See NLRB v. Donnelly Garment Co., 330 U.S. 219, 236-37 (1947) (holding that a

  hearing examiner's prior adverse ruling did not prevent same examiner from adjudicating same

  case on retrial after examiner's initial decision was reversed for improper exclusion of evidence).

  Nor do a patent examiner's doubts about the patentability of certain patent applications show a

  fixed opinion regarding the merits of future cases involving plaintiffs other patent applications.

  See FTC v. Cement Inst., 333 U.S. 683, 700-01 (1948) (holding that commission members' prior

  investigation and statements to Congress about policy issues did not "necessarily mean that the

  minds of [the] members were irrevocably closed on the subject" raised in later proceeding).

   Moreover, to parse Morse's guidance to patent examiners regarding particular patent applications

  would impermissibly invite a reviewing court to evaluate the merits of plaintiffs patent

  applications and the PTO's office actions. See Am. Ass 'n ofRetired Pers., 823 F.2d at 605


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  ("Section 706(1) does not provide a court with a license to substitute its discretion for that of an

  agency merely because the agency is charged with having unreasonably withheld action.").

  Accordingly, Morse's guidance emails to examiners do not singly or collectively satisfy the

  strong showing of bad faith or improper behavior necessary to justify ordering further discovery

  in this matter.

           Plaintiff also argues that the pretextual nature of Art Unit 2615's examination is evident

  from the PTO's treatment of Applications '799, '897, and '075. After plaintiff prevailed in part

  before the Board in 2007 in these three applications, the PTO completed no office actions in

  these applications until it issued nonfinal rejections on Applications '897 and '075 on April 20,

   2020. Plaintiff contends that office actions should have been completed long ago on these

  applications, which have not been amended since 2007. See A67 (Evid. Hr'g Tr. 67:18-21).

  Plaintiff also argues that the nonfinal rejections' inclusion of written description rejections under

   § 1121 1 are "identical" to the rejections reversed by the Board's 2007 decisions and show that

  the Board's decisions are not being accorded finality. May 15, 2020 Oral Arg. Tr. 7:7-16; see

  also Nonfinal Rejection, App. '897 at A9184-97; Nonfinal Rejection, App. '075 at A9328-36.38

           Again, the PTO's actions in these applications do not warrant further discovery in this

  case. Although there has been a significant delay in the PTO's action on these applications,

   under the then-existing pre-June 8, 1995 applicable legal regime the PTO is not required to

  complete examination of plaintiffs applications within a specified time. See Hyatt I, at 783.

   Plaintiff also mischaracterizes the recent nonfinal office actions' written description rejections.

  To be sure, the 2007 Board decisions in Applications '897 and '075 reversed§ 1121 I



   38
     Section 112 � 1 "contains two separate description requirements: a 'written description [i] of the
   invention, and [ii] of the manner and process of making and using ['the invention']." Ariad Pharm., Inc. v. Eli Lilly
   & Co., 598 F.3d 1336, 1344 (Fed. Cir. 2010) (en bane) (emphasis and alterations in original).

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  enablement rejections,39 but the Board's decisions also explicitly suggested further analysis of

  those applications' written descriptions.40 Accordingly, contrary to plaintifrs argument, the

  PTO's written description rejections under§ 112 � 1 in Applications '897 and '075 do not show

  that the PTO is disregarding the Board's decisions, nor do they show that the PTO has an illegal

  rule, order, or policy to reject or not to examine those applications.

             Next, plaintiff argues that the PTO's assertion of prosecution laches in the Hyatt v. lancu

  § 145 actions shows the PTO's prejudgment of all of plaintiffs applications. A58 (Evid. Hr'g Tr.

  58:9-14). In a brief in Hyatt v. Jancu, counsel for the PTO wrote: "[t]hus the USPTO has begun

  issuing prosecution laches rejections across all of [plaintiffs] pending applications at the

  USPTO, and has begun raising prosecution laches in all of his court cases." A289. Contrary to

  plaintiffs argument, this statement merely reflects that the PTO and plaintiff dispute whether

   plaintiffs prosecution conduct constitutes prosecution laches and does not provide persuasive

  evidence of a rule, order, or policy to deny plaintiff patents. Following a Board decision, plaintiff

  may seek judicial review of any grounds for rejection affirmed by the Board, including a

  potential prosecution laches rejection. Thus, the PTO's prosecution laches rejections in

  plaintiffs patent applications do not justify further discovery here.

              Finally, plaintiff argues that the pretextual nature of the PTO's examination is apparent



   39
        See Board Decision, App. '897 at A9115-17; Board Decision, App. '075 at A9243-46.
   40 Specifically, the 2007 Board decision in Application '075 states:

              The Examiner may wish to review the question of whether the application on appeal and the ancestor
              applications provide written description support for the claimed combinations of elements in light of the
              recent decision in Hyatt v. Dudas, 492 F.3d 1365, 1371 (Fed.Cir.2007). We express no opinion on this
              question one way or another.

   Board Decision, App. '075 at A9249; see also Board Decision, App. '897 at A9114 (suggesting that the examiner
   "may wish to review ...the sufficiency of the disclosure of the application on appeal" with respect to certain
   claims).

                                                              40
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  when the PTO's positions are contrasted with the D.C. district court's decision in the Hyatt v.

  Jancu§ 145 cases, which held that several claims in the applications at issue were patentable. To

  be sure, in that case the D.C. district court disagreed with the PTO's evaluation of the patent

  applications at issue there. But as the record in Hyatt v. lancu reflects, additional evidence

  presented for the first time during three separate trials-evidence not presented to the PTO

  during the examination process-proved crucial in the end to plaintiffs success on certain issues

  presented there:

         The Court's finding written description support for certain claims in this instance is thus
         not a moral judgment of any sort as to examiners' or the Board's diligence-indeed, it
         took many hours of expert testimony over many weeks of trial for the Court to be able to
         make these findings. Rather, the Court's findings rely heavily upon the new evidence
         presented at trial, in the form of expert testimony, establishing that certain of Mr. Hyatt's
         claims have adequate written description support.

  Hyatt v. Jancu, 332 F. Supp. 3d at 98-99 & n. 22 (emphasis added).

         In the event the PTO and the Board reject one or more of plaintiffs claims, plaintiff will

  have an opportunity to file a§ 145 case and present new evidence of patentability. But the D.C.

  district court's evaluation of new evidence related to three applications there in issue does not

  show that the PTO has engaged in any bad faith or improper behavior. Thus, the district court's

  decision in Hyatt v. lancu does not demonstrate that plaintiff in this case is entitled to conduct

  additional discovery here.

         In summary, none of plaintiffs arguments for conducting additional discovery in this

  matter is persuasive. Because the Administrative Record is adequately complete and makes clear

  that the PTO is adequately fulfilling its statutory obligation to examine plaintiffs patent

  applications, additional discovery is unwarranted.

                                                   VI.

         The Administrative Record reflects that there is no rule, order, or policy to deny plaintiff

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   any patents based on his existing patent applications or to deny plaintiffjudicial review of his

   existing patent applications rt:gardless of the merits of plaintiffs patent applications. Plaintiff is

   W1derstandably disappointed that the PTO is not processing plaintiff's applications at a faster

   pace, but plaintiff must accept that the length, complexity, and interrelatedness of his patent

   applications are significant (Ontributing factors to the slow pace of examination.

             The Administrative Record is adequately complete and refl�cts ihat the PTO is satisfying

   its starutory obligation to examine plaintiff's patent applicatjon�, and the PTO,s satisfaction of its

   legal obligation compels the denial of plaintit'rs APA claims and request for mandamus.

   Accordingly,judgment must be entered in favor of the PTO and against plaintiff: and Coun� IV,

   V, and VI of plaintiffs Complaint must be dismissed.

             An appropriate Order will issue separcltely.

             The Clerk is directed to se11d a copy of this Memorandum Opinion to all counsel of

   record.

   Alexandria, Virginia
   August 19, 2020

                                                            T. S. EJlis t l JJ
                                                            United St'1tcs Dj�rict Judge




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